Case 8:20-cv-02413-MSS-AAS Document 2 Filed 10/15/20 Page 1 of 1 PagelD 9

 

 

AO 440 (Rev. 06/12) Summons in 2 Civil Action
UNITED STATES DISTRICT COURT

for the
Middle District of Florida [x]

 

 

JUSTIN DANIEL PLASENCIA )
)
)
_ )
Plaintiff)
v. ) Civil Action No. 8:20-cv-2413-T-35AAS
HEALTHCARE REVENUE RECOVERY GROUP, LLC )
AND
INPHYNET CONTRACTING SERVICES, LLC
)
Defendant(s) )
SUMMONS IN A CIVIL ACTION ZO”
ae
To: (Defendant's name and address) a He RE REGENT GROUP, LLC 3 re g a ;

CORPORATION SERVICE COMPANY Ss Q S s 3 o .

1201 HAYS STREET PRO — vn

TALLAHASSEE, FL 32301-2525 pad 2 oi .

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A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure, -fhe. Bre OF Potion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: ATTORNEY AT LAW
POST OFFICE BOX 18942

TAMPA, FLORIDA, 33679
813-335=4379
fredvollrath@acl.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.
CLERK OF COURT¢:.

ao

 
  

 

“Signature of Clerk or Deputy Clerk
on ST ET WY

Date. October 15, 2020

 
